        Case 1:19-cr-00098-SHR Document 32 Filed 10/27/20 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :    Crim. No. 1:19-cr-098
                                           :
                                           :
                  v.                       :
                                           :
                                           :
JENSEY ALEXANDER CURET                     :    Judge Sylvia H. Rambo


                                   ORDER
      In accordance with the accompanying memorandum of law, IT IS HEREBY

ORDERED that the motion to dismiss the indictment (Doc. 25) is GRANTED IN

PART and the indictment is DISMISSED WITHOUT PREJUDICE to its refiling.

      IT IS FURTHER ORDERED that Jensey Alexander Curet shall be released

from confinement as soon as practicable.



                                               s/Sylvia H. Rambo
                                               Sylvia H. Rambo
                                               United States District Judge


Dated: October 27, 2020
